AO 440 (Rev. 06/12)    Suinmons    in a Civil   Action



                                                UNITED                 STATES           DISTRICT                     COURT
                                                                                     for tlie




         MT. HAWLEY           INSURANCE                  COMPANY,




                                  Plainlif(s)
                                       V.                                                          Civil    Action   No.    1:18-cv-5056
    ANTONIO           BRADY, LD DEERFIELD, LLC, and
  SUNSHINE           PROPERTY   MANAGEMENT   GROUP,
                              LLC


                              Defendant(s)


                                                               SUMMONS           IN A CIVIL            ACTION


To: (Defendarit'snameandaddress)
                                                 SUNSHINE   PROPERTY   MANAGEMENT     GROUP, LLC,
                                                 C/O MATTHEW    B NORTON  (REGISTERED   AGENT)
                                                 3424 PEACHTREE    ROAD NE, SUITE 1600
                                                 ATLANT A, GA 30326




          A lawsuit       lias been filed          against   you.


           Witliin    21 days after service               of t)iis summons      on you (not counting            tlie day you received       it) -     or 60 days if you
are tlie United       States or a United           States agency,       or an officer     or employee         of tlie United     States described      in Fed. R. Civ.
P. 12 (a)(2)    or (3) -      you inust serve on tlie plaintiff               an answer         to tlie attaclied    complaint    or a motion       under   Rule 12 of
tlie Federal    Rules of Civil         Procedure.          The answer      or motion      must be served on tlie plaintiff           or plaintiff's     attorney,
wl'iose name and address are:                    KIM M. JACKSON
                                                 DAVID RUSSELL    SMITH
                                                 BOVIS, KYLE, BURCH & MEDLIN,                        LLC
                                                 200 ASHFORD   CENTER NORTH,                         SUITE     500
                                                 ATLANT A, GA. 30338-2668




        If :YOLIfail to respond,judgment                     by default will be enteredagainstyou for the relief demandedin tlie complaint.
You also must file your answer or motion                       witli    the court.


                                                                                                      JAMES N. HATTEN
                                                                                                           CLERK     OF COURT



Date:            11/01/2018                                                                                        s/ Brittany Poley
                                                                                                                       Signature of Clerjc or Deputy Clerlc
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 Civil    Action      No.


                                                                                 PROOF       OF SERVICE

                              (This section should not be filed with the court unless required by Fecl. R. Civ. P. 4 (l))

              Tliis summons               for (nmne of individual arid title, d an)i)
 was     received      by ine on          (date)



              [1 I personally             served the summons                on t)ie individual      at   (place)

                                                                                                                   on(date)                                           ;or


              [1 I left tlie        sumi'nons        at tlie individual's        residence       or usual place of abode witli                   (name)

                                                                                        , a person       of suitable          age and discretion            who resides tliere,

              on    (date)                                         , and mailed       a copy to tlie individual's                 last known        address;     or


              r3 I served tlie summons on (name of indi*iidual)                                                                                                                   ,   who is
               designated by law to accept service of process on belialf of Oiame ofoi-ganization)
                                                                                                                   on(date)                                           ; or


              [I   I returned         tlie summons            unexecuted       because                                                                                                  ; or


              [1 0ther (specify).'




              My fees are $                                         for travel    and $                                  for services,        for a total     of $           0.00



              Ideclare          under penalty          of peijury        that tl'iis information     is true.




 Date:
                                                                                                                                 Server    's srgnature




                                                                                                                               Printed     name and title




                                                                                                                                  Server    's address



 Additional         information           regarding       attempted        service,   etc:
